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                         EXHIBIT 31
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW YORK, et al.,

   Plaintiffs,
                                                             C.A. No. 1:25-cv-10601
                  V.
                                                             DECLARATION
 LINDA McMAHON, et al.,

   Defendants.



                       DECLARATION OF DANIEL MORTON-BENTLEY


I, Daniel Morton-Bentley declare as follows:

        1.       I am a resident of the State of New York. I am over the age of 18 and have personal

knowledge of all the facts stated herein.      If called as a witness, I could and would testify

competently to the matters set forth below.

        2.       I am Counsel & Deputy Commissioner for Legal Affairs for the New York State

Education Department (NYSED). In my role at NYSED, I serve as chieflegal advisor and oversee

the Department's Office of Counsel, which consists of approximately 30 attorneys and support

staff. I have served in this capacity since 2020 and served the Depaiiment as an attorney since

2013.

        3.       I submit this declaration in support of Plaintiff States' Motion for a Preliminary

Injunction barring the Depaiiment of Education ("the Department") Reduction in Force (the

"RIF") announced on March 11, 2025, which is reducing the staff of the Department by 50%. We

received correspondence from the Department on March 14, attached as Exhibit A assuring

stakeholders that the Department can continue as though nothing has changed. But the facts clearly


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belie that assertion and we believe that the RIF poses grave harms to New York's educational

system.

          4.     In implementing education policy for schools across the State, our mission is to

raise the knowledge, skill, and opportunity of all the people in New York. Our vision is to provide

leadership for a system that yields the best educated people in the world.

          5.     NYSED has the following main branches:

   •      Office of P-12 Education (P-12). P-12 Education oversees pre-K through 12th grade
          programs.
   •      Office of Higher Education (OHE). OHE oversees colleges, universities, and proprietary
          schools; is responsible for the certification of teachers and other school professionals; and
          oversees programs to improve teacher preparation and recruitment.
   •      Office of Cultural Education (OCE). OCE includes the State Archives, the State Library,
          the State Museum, Office of Public Broadcasting Office, and the Summer School of the
          A1is.
   •      Office of Perfonnance Improvement and Management Services (PIMS). PIMS includes
          the offices oflnformation Technology, Facilities and Business Services, State Review,
          and External Audits.
    •     Chief Financial Office. CFO includes the offices of Human Resources, Fiscal Services,
          Budget Coordination, Education Finance, Internal Audit, and Internal Controls.
    •     Office of the Professions (OP). Since 1891, the Board of Regents and the New York State
          Education Department have overseen the preparation, licensure, and practice of the
          professions. Currently, the Office regulates forty-eight professions defined in Title VIII
          of New York's Education Law.
    •     Office of Adult Career and Continuing Education Services (ACCES). ACCES focuses on
          the education and employment needs of New York State's adults: Vocational
          Rehabilitation (including Independent Living Administration), Adult Education, High
          School Equivalency (HSE/GED®), and Career Schools.

          6.     NYSED is currently administering $15. 7 billion in federal funding from the US

Depaiiment of Education to suppo1i educational programming in New York. NYSED subgrants

around $14.8 billion of that total funding to sub-grantees across the state. The major streams of

funding from the Department are as follows, and a further breakdown of each category can be

found in Exhibit B: Title I-A, Title I-C, Title 111, Title IV-A, Title IV-B, Title IV-C, Special




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Education, Special Education - Preschool, Education for Homeless Children and Youth, Vocational

Education, Vocational Rehabilitation Services, Adult Education.

       7.      Just days after the announcement of the RIF, we have already had challenges

drawing down funds owed to New York by the Depmiment. The drawdowns for Education

Stabilization Fund (ESF) reimbursements have been delayed since the RIF announcement. New

York received $9.3 billion through this program and was approved additional time to liquidate

$363,198,981 of the remaining funding. US DOE implemented a requirement for additional sign

off from USDO E program staff assigned to the ESF and there was significant impact to this group

of employees by the RIP. We have been instructed to send our requests to a new email address but

are waiting on additional guidance and instructions for the approval of drawdown requests. See

communications attached as Exhibit C.

       8.      The Department also provides a variety of services beyond financial resources,

which New York has utilized in several ways. These services include technical expertise, research

support, and other non-financial resources that help shape education policy and enhance

educational opp01iunities for students. Here are some key areas where New York has benefited:

            a. Technical Assistance and Expe1iise: The Depmiment offers technical assistance to

               state and local education agencies to support the implementation of federal

               education programs and initiatives. This includes assistance in areas such as

               program    implementation,    data   analysis,   assessment   systems,   curriculum

               development, and teacher professional development. For instance, New York has

               utilized technical expertise in areas like the development of State Accountability

               Plans under the Every Student Succeeds Act (ESSA), ensuring that the state's

               educational goals align with federal guidelines and best practices.



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      b. Research and Data Support: The Depaiiment, through the Institute of Education

         Sciences (IES), provides access to valuable research and data on educational

         practices, student outcomes, and teaching strategies. New York has leveraged this

         research to inform state policies, such as improving student achievement and

         addressing achievement gaps.        Additionally, through the National Center for

         Education Statistics (NCES), New York has access to comprehensive data on

         school performance, graduation rates, and other key metrics to inform decision-

         making at the state and district levels.

      c. Professional Development and Training:           The Department often facilitates

         professional development programs, offering resources to improve the skills of

         educators and administrators. New York has taken advantage of these programs to

         enhance teacher effectiveness and provide training for educators on issues such as

         closing the achievement gap, student mental health, and blended learning programs.

         Programs like the Student Support and Academic Emichment Grant (SSAE)

         provide formula funding that is intended to improve students' academic

         achievement by increasing the capacity of states, local education agencies (LEAs),

         schools, and local communities to (1) provide all students with access to a well-

         rounded education, (2) improve school conditions for student learning, and (3)

         improve the use of technology to improve the academic achievement and digital

         literacy of all students. The Department facilitates a technical assistance center that

         provides critical support related to New York's implementation of this program.

      d. Policy and Program Guidance: The Department provides guidance on various

         educational policies and programs that help ensure alignment with federal law, such



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                as Title I (disadvantaged students), Title II (teacher quality), and Title IV (student

                suppo1i and academic enrichment). New York has benefited from the Depaiiment's

                policy expertise in areas like special education, bilingual education, and college and

                career readiness, ensuring that state programs comply with federal guidelines and

                address local needs effectively.

           e. Innovation and Grant Programs: The Department runs several innovation and

                competitive grant programs, such as the Chmier School Program and the School

                Improvement Grants (SIG), which New York has utilized to fund reform effo1is,

                improve school performance, and foster innovation in education. These programs

                provide resources and supp01i to implement evidence-based strategies that address

                the specific challenges faced by New York schools, including enhancing STEM

                education and integrating technology into the classroom.

           f.   National Education Platforms: Through initiatives like the Depmiment's "What

                Works Clearinghouse": NYSED has access to evidence-based practices and tools

                that support educational interventions, including strategies for early childhood

                education, literacy, and improving school climate. Additionally, resources from

                national education organizations and networks supp01ied by the Department, such

                as the Regional Education Laboratories (RELs), provide New York with access to

                collaborative research and tools to address state-specific educational challenges.

These non-financial services from the Depaiiment complement the funding that New York State

receives, helping the state to implement high-quality education programs and improve outcomes

for students across the state.




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         9.        A reduction in Department staffing will also likely lead to an increase in the need

for state enforcement of civil rights protections. For example, if the Depmiment is unable to resolve

complaints by parents of students with disabilities, those parents will turn to the State complaint

process authorized by IDEA. A State complaint is a written, signed statement of an allegation that

a local or State educational agency (e.g., school district or other public agency) has violated a

requirement of federal or New York State law or regulation relating to the education of students

with     disabilities.    Additional    information     1s   available    on    NYSED's      website:

https://www.nysed.gov/special-education/state-complaint. NYSED is required to issue decisions

in such complaints within 60 calendar days (see 34 CFR 300.152 [a]). The New York Regional

Office was one of seven OCR offices to close completely. Collin Binkley, Education Department

layoffs gut its civil rights office, leaving discrimination cases in limbo, Associated Press (March

12,           2025),     https ://apnews. com/article/trump-education-department-layoffs-civil-rights-

8cbf463cce765f497c10d688ab4d5lel.

         10.       A reduction in Department staffing levels within the Office of Special Education

Programs (OSEP) will impact NYSED's implementation of IDEA by delaying processing of the

annual IDEA grant Part B grant application and corresponding funding.

         11.       It will also delay processing of the State Personnel Development Grant (SPDG)

grant. NYSED cunently has a grant extension for the current MOU through September 2026 and

submitted a new grant application to fund the scale-up phase of the New York State-Multi Tier

Systems of Supp01i (NYS MTSS-I) Center and framework implementation statewide.

         12.       A reduction in Department staffing levels will delay approval of the State

Performance Plan (SPP)/Annual Performance Repo1i (APR), which is required under the IDEA.



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       13.      The RIF will reduce federal guidance, resources, and technical assistance suppmi

needed by NYSED to respond to questions and concerns from school districts related to strategies

to improve educational outcomes for students with disabilities, as well as delay data submission

and calculation systems used by OSEP to measure NYSED progress and compliance with the

requirements and purposes of the IDEA.

       14.      The loss of NCES will also compromise data that we rely on to improve our

provision of services and support to New Yorkers as described above. Benjamin Siegel, Education

Department cuts agency that compiles 'Nation's Report Card' and measures student pe1formance,

ABC News (March 12, 2025), https://abcnews.go.com/Politics/education-department-cuts-

agency-compiles-nations-report-card/story?id=l 19735831.

       15.      Any shift in federal level responsibilities to states may impact NYSED's capacity

to continue its priority initiatives to improve special education outcomes.

       16.      A reduction in Department staffing levels within the Office of Career, Technical

and Adult Education (OCTAE) will delay vital resources relied on by NYSED to implement the

Workforce Innovation Oppmiunity Act (WIOA) and Adult Education and Family Literacy Act

(AEFLA) including:

             a. the allocation of funding for adult education, employment preparation, and

                apprenticeships;

             b. the federal technical assistance provided to improve adult education and literacy

                services in New York; and

             c. federal training on policy, laws, and regulations related to NYSED's delivery of

                services to help adults acquire the basic skills they need including reading, writing,




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                math, English language proficiency, and problem-solving to be productive workers,

                family members, and citizens.

       17.      A reduction Department staffing levels within the Office of Special Education and

Rehabilitative Services (OSERS) will also impact NYSED's implementation of the Workforce

Innovation Oppo1iunity Act (WIOA) and Rehabilitation Act as follows:

             a. delay funds used by NYSED to provide vocational rehabilitation and other services

                to individuals with disabilities to maximize their employment, independence, and

                integration into the community and competitive labor market;

             b. delay data utilized by NYSED to analyze employment outcomes and other trends

                related to employment opportunities for individuals with disabilities; and

             c. delay federal guidance and technical assistance provided to NYSED to improve its

                delivery of vocational rehabilitation services to New Yorkers with disabilities.

       18.      Additionally, the Department suppmis English Language Learner (ELL) students

through the grant program funding, pedagogical professional development, and creation of

academic program standards to ensure students can make meaningful academic progress while

establishing proficiency in the English language. Approximately 259,829 (11 percent) of New

York State public school students are ELLs, and 151,831 (16 percent) of New York City students

are ELLs. This population of students is comprised of American citizens, immigrants, and migrant

children. To achieve these goals, the Department provided state and local educational agencies

with critical academic protocols and shared best practices to promote the prompt implementation

and continued success of language programs that serve ELL students.




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       19.     The landscape of ELL student services and supports continues to evolve and gutting

the Department stymies education innovation by removing access to technical assistance on the

appropriate use of federal grant monies and established budgetary requirements.

       20.     The provision of ELL services is student-centered and fact-specific, and the loss of

critical institutional knowledge through the RIF's reported elimination of the Office of English

Language Acquisition cannot be replaced with artificial intelligence or other auto-response

technical programming. This loss will undoubtedly slO\,v educational progress of students, remove

a parental source of support, and negatively impact school communities by hindering critical

feedback and program evaluation meant to ensure compliance.



               Executed on March 1.D~025, at Albany, New York.



      I declare under penalty of pe1jury that the foregoing is true and correct to the best of my
knowledge.




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                              EXHIBIT A




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                              UNITED STATES DEPARTMENT OF EDUCATION
                                           WASHINGTON, D.C. 20202


                                               March 14, 2025

Dear Education Stakeholders,

Earlier this week, the Department of Education enacted a reduction in force in line with President Trump's
commitment to return education to you, the states. These reductions are strategic cuts to offices and
programs that will not directly impact students and families but rather empower states and localities.

I want to assure you that critical functions for elementary and secondary education will not be impacted by
these cuts. The Office of Elementary and Secondary Education (OESE) employees who oversee the
allocation, monitoring, and management of the Elementary and Secondary Education Act's (ESEA) title
formula funding and discretionary grant programs were not impacted by the reduction in force. These funds
will continue to flow normally, and program functions will not be disrupted. Supporting states in
implementing and strengthening these programs continues to be a top priority for this Department.

OESE employees who oversee temporary COVID pandemic relief funds were impacted by the reduction in
force. Most of these employees were term appointments or had accepted voluntary resignation
opportunities. Many states are still liquidating these funds, and those reimbursements will proceed, under
the Department's new February 2025 guidance.I I understand the importance of states receiving requested
reimbursements in a timely manner and staff are working to provide an update to states on what to expect
for reimbursements moving forward. Information on this transition and where states can direct questions is
forthcoming.

The Office of English Language Acquisition and management of ESEA' s Title III will return to OESE,
where it previously resided until December 2023. The Department is committed to fulfilling its statutory
obligation to prepare English learners attain English proficiency and develop high levels of academic
achievement in English.

Like OESE, the reduction in force will also not affect the Department's critical work supporting individuals
with disabilities and their families. No employees in the Office of Special Education Programs or the
Rehabilitation Services Administration were part of the reductions in force. The Department is committed
to ensuring uninterrupted services to meet the needs and develop the potential of children and youth with
disabilities, while also supporting states and other agencies in providing vocational rehabilitation and other
services. The Office of Special Education and Rehabilitative Services (OSERS) employees impacted by the
reduction were those involved in policy, operations, and administrative functions that were either
duplicative or can be reassigned to create a more efficient and accountable organizational structure.

Across the Department, management and operation roles are being streamlined to reduce duplicative
functions. For instance, human resources functions such as travel coordinators and timekeepers that can be
more efficiently affected by one central office are being consolidated.

These reforms are the first step in removing bureaucratic excesses from the Department. Eliminating the
red tape and bureaucratic barriers imposed by the Department will provide more flexibility for state and
local education agencies to best serve their students. An effective and deliberate transfer of educational
oversight to the states will mean more autonomy for local communities. Teachers, too, will benefit from
less micromanagement in the classroom---enabling them to get back to basics and focus their attention on
students.
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You all will play a critical role in achieving this vision. I look forward to working with you to find ways to
get the federal bureaucracy out of your way so you can give parents more choices, improve academic
achievement, and ensure students reach their God-given potential.

Sincerely,



l*fi-~
Principal Deputy Assistant Secretary and
Acting Assistant Secretary
Office of Elementary and Secondary Education
U.S. Department of Education
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                                                                   EXHIBITB

Program Name              Annual           State set      Local             Purpose
                          Award            aside          Assistance
                          Amount           amount         amount
Title I - Part A          $1,489,259,094   $115,204,866   $1,374,054,228    To provide funds to local educational agencies (Public School Districts,
                                                                            Charter Schools, and Special Act Districts) for the purpose of providing all
                                                                            children significant opportunity to receive a fair, equitable, and high-quality
                                                                            education, and to close educational achievement gaps among groups of
                                                                            students.
Title I - Part C          $10,173,064      $101,731       $10,071,333       To ensure that all migratory children reach challenging academic standards
                                                                            and graduate with a high school diploma (or complete a HSED) that
                                                                            prepares them for responsible citizenship, further learning, and productive
                                                                            employment.
Title III                 $65,607,677      $3,280,383     $62,327,294        To ensure that children and youth who are ELLs develop high levels of
                                                                            academic achievement and proficiency in the English language
Title IV - Part A         $107,069,046     $5,353,452     $101,715,594      To improve student's academic achievement by increasing the capacity of
                                                                            States, local educational agencies, schools and local communities to:
                                                                            provide all students with access to a well-rounded education; improve
                                                                            school conditions for student learning; and improve the use of technology in
                                                                            order to improve the academic achievement and digital literacy for all
                                                                            students.
Title IV - Part B         $102,682,609     $7,187,782     $95,494,827       Supports the creation of community learning centers that operate programs
                                                                            for students, particularly those who attend high-poverty and low-performing
                                                                            schools, and their families.
Title IV - Part C         $50,072,285      $6,501,562     $43,570,723       To support the expansion of high-quality educational opportunities for
                                                                            students in New York State by expanding the number of seats in existing
                                                                            charter schools in New York State that are already providing a significant
                                                                            educational benefit to students, especially those who are at the greatest risk
                                                                            of not meetin_g State academic standards.
Special Education         $907,542,158     $122,286,772   $785,255,386      Ensures special education and related services to eligible children with
                                                                            disabilities aged 3 through 21 are provided.
Special Education -       $37,147,853      $9,503,419     $27,644,434       Supports early intervention services for infants and toddlers with disabilities
Preschool                                                                   and their families.
Education for Homeless    $10,436,522      $2,609,131     $7,827,391        Primary source of funding for education of children and youth experiencing
Children and Youth                                                          homelessness.
Vocational Education      $64,862,646      $9,729,397     $55,133,249       To develop more fully the academic knowledge and technical and
                                                                            employability skills of secondary education students and postsecondary



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                                                                      education students who elect to enroll in career and technical education
                                                                      programs and programs of study.
Vocational                 $63,330,967   $50,722,925   $12,608,042    Help individuals with disabilities prepare for, obtain, and maintain
Rehabilitation Services                                               employment through training, job placement, and other support services.
Adult Education            $52,353,796   $9,161,913    $43,191,883    Funding for adult education programs as part of a broader workforce
                                                                      development system, helping adults gain skills and training for
                                                                      employment.




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                               EXHIBITC




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Edward Lenart

From:                               Honeysett, Adam <Adam.Honeysett@ed.gov>
Sent:                               Monday, March 17, 2025 12:27 PM
To:                                 Edward Lenart
Subject:                            RE: Drawdown requests


Dear Colleague,

Thank you for reaching out to the U.S. Department of Educa on. All correspondence related to the Elementary and
Secondary School Emergency Relief (ESSER) Fund should now be directed to ESSERF@ed.gov. If you sent anything
related to ESSER since March 11, 2025, please resend it to ESSERF@ed.gov for proper handling.

Best,

Adam Honeyse
Oﬃce of Communica ons and Outreach
U.S. Department of Educa on

Email: Adam.Honeyse @ed.gov
Phone Number: (202) 401-3003

From: Edward Lenart <Edward.Lenart@nysed.gov>
Sent: Friday, March 14, 2025 3:54 PM
To: OESE.SGR.New York <NewYork.oese@ed.gov>; Sanon, Hayley <Hayley.Sanon@ed.gov>; Honeysett, Adam
<Adam.Honeysett@ed.gov>
Cc: Timmons, Jennifer <Jennifer.Timmons@ed.gov>; Almquist, An <An.Almquist@ed.gov>
Subject: RE: Drawdown requests

CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the
sender and know the content is safe.


Per the recommenda on of CCSSO, I have added Adam and Haley to this correspondence.

Thank you for any assistance/guidance that can be provided.

From: Edward Lenart
Sent: Friday, March 14, 2025 12:09 AM
To: OESE.SGR.New York <NewYork.oese@ed.gov>
Cc: Timmons, Jennifer <Jennifer.Timmons@ed.gov>; Almquist, An <an.almquist@ed.gov>
Subject: RE: Drawdown requests

I hope this email ﬁnds you well during this me of uncertainty.

Is there any chance an update can be provided on the items from my email on March 11?

Thank you.



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